Case 2:17-cv-06126-R-PLA Document 63 Filed 07/07/21 Page 1 of 42 Page ID #:1764



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  4
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  5   the Duly Appointed Insolvency Officer and
      Trustee of Vitaly Ivanovich Smagin
  6

  7

  8                                     UNITED STATES DISTRICT COURT

  9                          FOR THE CENTRAL DISTRICT OF CALIFORNIA

 10

 11   VITALY IVANOVICH SMAGIN,                           Case No.: 2:17-CV-06126-RGK-PLA
 12                        Plaintiff,                    Assigned to: The Hon. R. Gary Klausner
 13               v.                                     NOTICE OF FILING CHAPTER 15
                                                         PETITION FOR RECOGNITION OF A
 14   ASHOT YEGIAZARYAN a/k/a ASHOT                      FOREIGN PROCEEDING
      EGIAZARYAN; CTX TREUHAND AG as
 15   Trustee for the ALPHA TRUST,
 16                        Defendants.
 17

 18               PLEASE TAKE NOTICE that on June 30, 2021, Evgeniy Nikolaevich Ratnikov (the

 19   “Foreign Representative”), the duly appointed insolvency officer and trustee of Vitaly

 20   Ivanovich Smagin (the “Debtor” or “Mr. Smagin”) in Mr. Smagin’s pending insolvency

 21   proceeding (the “Russian Proceeding”) under the Federal Law No 127-FZ “On Insolvency

 22   (Bankruptcy)” dated October 26, 2002, as amended (the “Russian Bankruptcy Law”), filed

 23   a Chapter 15 Petition for Recognition of a Foreign Proceeding and the Application for

 24   Recognition of Foreign Main Proceeding and Certain Related Relief (collectively, the

 25   “Petition”) in the United States Bankruptcy Court for the Central District of California (the

 26   “Bankruptcy Court”) commencing a case under chapter 15 of Title 11 of the United States

 27   Code (the “Bankruptcy Code”) and seeking recognition of the Russian Proceeding as a

 28   “foreign main proceeding” and certain related relief, including but not limited to the
      2913510.1                                      1
                                    NOTICE OF FILING CHAPTER 15 PETITION
Case 2:17-cv-06126-R-PLA Document 63 Filed 07/07/21 Page 2 of 42 Page ID #:1765



  1   entrustment pursuant to section 1121(a)(5) of the Bankruptcy Code of the Foreign
  2   Representative with the administration and exercise of all rights and powers of the Debtor with
  3   respect to this action, and any other pending action in the Central District of California, and
  4   any related appeals. A true and correct copy of the Petition is attached hereto as Exhibit 1.
  5               PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Scheduling Hearing
  6   on Chapter 15 Petition and Approving Form and Manner of Notice (the “Scheduling Order”),
  7   a copy of which is attached hereto as Exhibit 2, the Bankruptcy Court has scheduled a hearing
  8   on July 28, 2021 at 11:00 a.m. (PST) before the Honorable Sheri Bluebond (the “Hearing”),
  9   United States Bankruptcy Judge for the Central District of California.
 10   Dated: July 7, 2021                          RAINES FELDMAN LLP
 11
                                                   By:     /s/ Hamid R. Rafatjoo
 12                                                        Hamid R. Rafatjoo
 13                                                Attorneys for Evgeniy Nikolaevich Ratnikov, the
                                                   Duly Appointed Insolvency Officer and Trustee of
 14                                                Vitaly Ivanovich Smagin
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                                 NOTICE OF FILING CHAPTER 15 PETITION
Case 2:17-cv-06126-R-PLA Document 63 Filed 07/07/21 Page 3 of 42 Page ID #:1766




                       EXHIBIT 1
        Case
         Case2:17-cv-06126-R-PLA
               2:21-bk-15342 Doc 1Document
                                    Filed 06/30/21
                                            63 FiledEntered
                                                     07/07/2106/30/21
                                                               Page 410:16:52
                                                                      of 42 Page
                                                                              Desc
                                                                                 ID #:1767
                                                                                    Main
                                    Document      Page 1 of 3
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
  Central                          California
 ____________________ District of _________________
                                      (State)
 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).


                                              Vitaly Ivanovich Smagin
                                           _____________________________________________________________________________________________
1.   Debtor’s name


2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                       Other ___________________________. Describe identifier _____________________________.

                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                  x
                                                                                                                  TIN
                                                              773407885620________________. Describe identifier _____________________________.
                                                        Other ___________



3.   Name of foreign
                                            Evgeniy Nikolaevich Ratnikov
     representative(s)                     ____________________________________________________________________________________________


4.   Foreign proceeding in which            Proceeding in Moscow Arbitration Court, Russia (Federal Law No. [127-FZ] "On Insolvency (Bankruptcy"),
     appointment of the foreign             Case No. A40-17597/20-4-36F
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           X
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               x
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.
                                           x
                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  See Declaration of Evgeniy Nikolaevich Ratnikov and other supporting documents filed
                                                  _______________________________________________________________________________________
                                                  contemporaneously herewith
                                                  _____________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               x
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 1
                                                                                                                                     Exhibit 1, Page 3
          Case
           Case2:17-cv-06126-R-PLA
                 2:21-bk-15342 Doc 1Document
                                      Filed 06/30/21
                                              63 FiledEntered
                                                       07/07/2106/30/21
                                                                 Page 510:16:52
                                                                        of 42 Page
                                                                                Desc
                                                                                   ID #:1768
                                                                                      Main
                                      Document      Page 2 of 3
                 Vitaly Ivanovich Smagin
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:

                                          Russian Federation
                                         ______________________________________________                  ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):

                                         Desenovskoye Settlement                                           Ulitsa Druzhby, 9, apt. 200
                                         _______________________________________________                 _______________________________________________
                                         Number     Street                                               Number     Street

                                         Novovatutinsky Prospect, 10, bldg 1 apt. 44
                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box
                                          Moscow                                                          Lyubertsy, Moscow Region 140013
                                         _______________________________________________                 _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code

                                          RUSSIA                                                           RUSSIA
                                         _______________________________________________                 _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)                    N/A
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                               Non-individual (check one):

                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________
                                         x
                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
                                                                                                                                     Exhibit 1, Page 4
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342 Doc 1Document
                            Filed 06/30/21
                                    63 FiledEntered
                                             07/07/2106/30/21
                                                       Page 610:16:52
                                                              of 42 Page
                                                                      Desc
                                                                         ID #:1769
                                                                            Main
                            Document      Page 3 of 3




                                                                    Exhibit 1, Page 5
Case
  Case
     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
                         Document
                             2 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                 Entered
                                                       Page
                                                         06/30/21
                                                             7 of 42
                                                                   11:08:37
                                                                      Page IDDesc
                                                                             #:1770
                          Main Document     Page 1 of 3


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  6    RAINES FELDMAN LLP
       One Rockefeller Plaza, 10th Floor
  7    New York, NY 10020
       Email:        ccallari@raineslaw.com
  8                  dforsh@raineslaw.com
  9    Counsel for the Foreign Representative
 10

 11                              UNITED STATES BANKRUPTCY COURT

 12                CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 13    In re:                                               Case No. 2:21-bk-15342-BB
 14    VITALY IVANOVICH SMAGIN,                             Chapter 15
 15             Debtor in a Foreign Proceeding.             FOREIGN REPRESENTATIVE’S
                                                            APPLICATION FOR RECOGNITION
 16                                                         OF FOREIGN MAIN PROCEEDING
                                                            AND CERTAIN RELATED RELIEF
 17

 18
                Evgeniy Nikolaevich Ratnikov (“Mr. Ratnikov” or the “Foreign Representative”), in his
 19
       capacity as the duly-appointed insolvency officer and trustee of Vitaly Ivanovich Smagin (“Mr.
 20
       Smagin” or the “Debtor”) in the Debtor’s liquidation proceeding pending in the Russian
 21
       Federation (the “Russian Proceeding”) under the Russian Federation Federal Law No. 127-FZ
 22
       “On Insolvency (Bankruptcy)” dated October 26, 2002, as amended (the “Russian Bankruptcy
 23
       Law”), hereby submits this application for recognition of a foreign main proceeding and certain
 24
       related relief in support of the Chapter 15 Petition for Recognition of a Foreign Proceeding filed
 25
       contemporaneously herewith, and respectfully states as follows:
 26
                As set forth in the accompanying Memorandum in Support of Recognition of Foreign Main
 27
       Proceeding and Certain Related Relief, and by the Declaration of Professor Marina V. Telyukina
 28

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                                                                                    Exhibit 1, Page 6
Case
  Case
     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
                         Document
                             2 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                 Entered
                                                       Page
                                                         06/30/21
                                                             8 of 42
                                                                   11:08:37
                                                                      Page IDDesc
                                                                             #:1771
                          Main Document     Page 2 of 3


  1    in Support of Verified Petition and Declaration of Evgeniy Nikolaevich Ratnikov in Support of Verified

  2    Petition, the Court should recognize the Russian Proceeding as a foreign main proceeding. The

  3    Russian Proceeding is a collective judicial or administrative proceeding pending before the
  4    Arbitration Court of the City of Moscow (the “Moscow Court”) in Russia and is being conducted
  5    under Russian insolvency laws for purposes of liquidating the Debtor’s assets. The Russian
  6    Proceeding is the sole foreign proceeding respecting the Debtor. As the Debtor is a natural-born
  7    Russian citizen residing in Moscow, his center of main interests is Russia and the Russian
  8    Proceeding constitutes a foreign main proceeding. The Foreign Representative also seeks an order
  9    affirming the Foreign Representative’s right and power to marshal the Debtor’s assets in the United
 10    States including, without limitation, assuming control over certain pending actions commenced by
 11    the Debtor in this district and to conduct related discovery. To the extent not automatically provided
 12    upon recognition of the Russian Proceeding as a foreign main proceeding, this necessary and
 13    appropriate relief will allow the Foreign Representative to fulfill his duties to investigate, pursue,
 14    marshal and liquidate the Debtor’s assets wherever located for the benefit of all creditors of the
 15    Debtor, and to prevent the Debtor from wrongfully transferring or otherwise dissipating assets of
 16    the estate.
 17    ///
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                                                                                        Exhibit 1, Page 7
Case
  Case
     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
                         Document
                             2 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                 Entered
                                                       Page
                                                         06/30/21
                                                             9 of 42
                                                                   11:08:37
                                                                      Page IDDesc
                                                                             #:1772
                          Main Document     Page 3 of 3


  1           WHEREFORE, the Foreign Representative respectfully requests that the Court enter an
  2    order, substantially in the form attached hereto as Exhibit A, (i) granting the Petition and
  3    recognizing the Foreign Proceeding as a foreign main proceeding pursuant to section 1517 of the
  4    Bankruptcy Code, (ii) recognizing the Foreign Representative as the “foreign representative,” as
  5    defined in section 101(24) of the Bankruptcy Code, of the Debtor and entrusting the Foreign
  6    Representative with the administration of the Debtor’s assets within the territorial jurisdiction of
  7    the United States, (iii) giving full force and effect and granting comity in the United States to the
  8    order of the Moscow Court implementing the liquidation of the Debtor, (iv) enjoining all parties
  9    from commencing or taking any action in the United States to obtain possession of, exercise control
 10    over, or assert claims against the Debtor or his property, and (v) granting such other and further
 11    relief as this Court deems just and proper.
 12    Dated: June 30, 2021                          RAINES FELDMAN LLP
 13
                                                     By:       /s/ Hamid R. Rafatjoo
 14                                                            Hamid R. Rafatjoo
                                                               Carollynn H.G. Callari
 15                                                            David S. Forsh
 16                                                  Counsel for the Foreign Representative
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                                                                                        Exhibit 1, Page 8
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
                         Document
                            2-1 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                   Entered
                                                       Page06/30/21
                                                             10 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1773
                 Memorandum of Points and Authorities Page 1 of 21


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   8                 dforsh@raineslaw.com
   9   Counsel for the Foreign Representative
  10

  11                             UNITED STATES BANKRUPTCY COURT

  12               CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

  13   In re:                                          Case No. 2:21-bk-15342-BB

  14   VITALY IVANOVICH SMAGIN,                        Chapter 15

  15            Debtor in a Foreign Proceeding.        FOREIGN REPRESENTATIVE’S
                                                       MEMORANDUM IN SUPPORT OF
  16                                                   RECOGNITION AS A FOREIGN MAIN
                                                       PROCEEDING AND CERTAIN
  17                                                   RELATED RELIEF

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                                                                            Exhibit 1, Page 9
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
                         Document
                            2-1 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                   Entered
                                                       Page06/30/21
                                                             11 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1774
                 Memorandum of Points and Authorities Page 2 of 21


   1                                                      TABLE OF CONTENTS
   2   PRELIMINARY STATEMENT..................................................................................................... 1
   3   JURISDICTION AND VENUE ..................................................................................................... 2
   4   BACKGROUND ............................................................................................................................ 2
   5       I.   THE DEBTOR AND THE RUSSIAN PROCEEDING ......................................... 2
           II.  THE DEBTOR’S KEY ASSETS AND LIABILITIES .......................................... 3
   6
                A.       Claims Asserted Against the Debtor ........................................................... 3
   7                     a.          The Debtor’s Assets ........................................................................ 3
   8   RELIEF REQUESTED ................................................................................................................... 5
   9   BASIS FOR RELIEF REQUESTED .............................................................................................. 5
  10         III. THIS CASE IS FILED FOR AN ELIGIBLE DEBTOR AND IS
                  APPROPRIATELY VENUED IN THIS DISTRICT ............................................. 5
  11         IV.  THE RUSSIAN PROCEEDING SHOULD BE RECOGNIZED AS A
                  FOREIGN MAIN PROCEEDING ......................................................................... 7
  12
                  A.    The Russian Proceeding is a Foreign Proceeding ....................................... 7
  13              B.    The Debtor’s Center of Main Interests is in Russia .................................... 9
  14              C.    Mr. Ratnikov is an Appropriate Foreign Representative .......................... 10
                  D.    The Requirements of Section 1515 Have Been Satisfied ......................... 11
  15
                  E.    Recognition of the Russian Proceeding is not Manifestly Contrary
  16                    to Public Policy ......................................................................................... 11
             V.   RELIEF UNDER SECTIONS 1520 AND 1521 IS APPROPRIATE .................. 12
  17
       RESERVATION OF RIGHTS ..................................................................................................... 16
  18
       HEARING DATE AND NOTICE ................................................................................................ 16
  19
       CONCLUSION ............................................................................................................................. 17
  20

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                                                                            i

                                                                                                                     Exhibit 1, Page 10
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
                         Document
                            2-1 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                   Entered
                                                       Page06/30/21
                                                             12 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1775
                 Memorandum of Points and Authorities Page 3 of 21


   1                                                    TABLE OF AUTHORITIES
   2   Cases
       Drawbridge Special Opps. Fund LP v. Barnet (In re Barnet),
   3      737 F.3d 238 (2d Cir. 2013) ......................................................................................................... 6
   4   In re ABC Learning Centres Ltd.,
          445 B.R. 318 (Bankr. D. Del. 2010), aff’d, 728 F.3d 301 (3d Cir. 2013) .............................. 8, 12
   5   In re Betcorp Ltd.,
          400 B.R. 266 (Bankr. D. Nev. 2009) ........................................................................................... 8
   6
       In re British Am. Ins. Co.,
   7      488 B.R. 205 (Bankr. S.D. Fl. 2013 ............................................................................................. 6
       In re Kemsley,
   8      489 B.R. 346 (Bankr. S.D.N.Y. 2013) ......................................................................................... 9
   9   In re Millennium Glob. Emerging Credit MasterFund Ltd.,
          471 B.R. 342 (Bankr. S.D.N.Y. 2012) ....................................................................................... 15
  10   In re Rede Energia, S.A.,
          515 B.R. 69 (Bankr. S.D.N.Y. 2014) ................................................................................... 11, 12
  11
       In re SPhinX Ltd.,
  12      351 B.R. 103 (Bankr. S.D.N.Y. 2006) ....................................................................................... 15
       In re Vitro S.A.B. de CV,
  13      701 F.3d 1031 (5th Cir. 2012).................................................................................................... 11
  14   Kingvision Pay-Per--View Ltd. v. Lake Alice Bar,
          168 F.3d 347 (9th Cir. 1999)........................................................................................................ 6
  15   Lavie v. Ran (In re Ran),
          607 F.3d 1017 (5th Cir. 2010)...................................................................................................... 9
  16
       Standard Oil Co. v. New Jersey,
  17      341 U.S. 428 (1951) ..................................................................................................................... 6
       Statutes
  18
       11 U.S.C. § 101(23) ......................................................................................................................... 7
  19   11 U.S.C. § 101(24) ....................................................................................................................... 10
  20   11 U.S.C. § 109(a) ........................................................................................................................... 5
       11 U.S.C. § 1501 ............................................................................................................................ 11
  21
       11 U.S.C. § 1502(4) ......................................................................................................................... 9
  22   11 U.S.C. § 1516(c) ......................................................................................................................... 9
  23   11 U.S.C. § 1517(a) ......................................................................................................................... 7
       11 U.S.C. § 1517(a)(3) ................................................................................................................... 11
  24
       11 U.S.C. § 1517(b) ......................................................................................................................... 7
  25   11 U.S.C. § 1517(b)(1)..................................................................................................................... 9
  26   11 U.S.C. § 1520(a) ........................................................................................................................ 13
       11 U.S.C. § 1521(a) ....................................................................................................................... 14
  27
       11 U.S.C. § 1521(a)(4) ................................................................................................................... 15
  28   28 U.S.C. § 1410(1) ......................................................................................................................... 6
                                                                              ii

                                                                                                                        Exhibit 1, Page 11
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
                         Document
                            2-1 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                   Entered
                                                       Page06/30/21
                                                             13 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1776
                 Memorandum of Points and Authorities Page 4 of 21


   1   28 U.S.C. § 1410(3) ......................................................................................................................... 6
   2   Other Authorities
       United States.” H. Rep. No. 109-31, pt. 1, 109th Cong., 1st Sess. 109 (2005).............................. 11
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                                                                                                                       Exhibit 1, Page 12
Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
                         Document
                            2-1 Filed
                                   63 06/30/21
                                       Filed 07/07/21
                                                   Entered
                                                       Page06/30/21
                                                             14 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1777
                 Memorandum of Points and Authorities Page 5 of 21


   1          Evgeniy Nikolaevich Ratnikov (“Mr. Ratnikov” or the “Foreign Representative”), in his
   2   capacity as the duly appointed insolvency officer and trustee of Vitaly Ivanovich Smagin (“Mr.
   3   Smagin” or the “Debtor”) in the Debtor’s insolvency proceeding pending in the Russian
   4   Federation (the “Russian Proceeding”) under the Russian Federation Federal Law No. 127-FZ
   5   “On Insolvency (Bankruptcy)” (the “Russian Bankruptcy Law”), hereby submits this
   6   memorandum in support of the Chapter 15 Petition for Recognition of a Foreign Proceeding and
   7   the Application for Recognition of Foreign Main Proceeding and Certain Related Relief filed
   8   contemporaneously herewith (together, the “Petition”), and respectfully states as follows:
   9
                                        PRELIMINARY STATEMENT
  10
              1.      Mr. Smagin is the debtor in an ongoing liquidation proceeding in the Russian
  11
       Federation (“Russia”) under the oversight of the Arbitration Court of the City of Moscow (the
  12
       “Moscow Court”). Mr. Ratnikov is the trustee duly appointed by the Moscow Court to liquidate
  13
       Mr. Smagin’s assets for the benefit of creditors. By the Petition, the Foreign Representative is
  14
       seeking recognition of the Russian Proceeding as a foreign main proceeding and related relief. The
  15
       Foreign Representative is not seeking provisional relief at this time.
  16
              2.      The Declaration of Professor Marina V. Telyukina in Support of Verified Petition
  17
       (“Prof. Telyukina Declaration”) and Declaration of Evgeniy Nikolaevich Ratnikov in Support of
  18
       Verified Petition (“Ratnikov Declaration”) filed with the Court concurrently herewith set forth
  19
       the relevant facts of this case, which fall squarely within the straightforward statutory requirements
  20
       for recognition of a foreign main proceeding. Specifically, the Russian Proceeding is a collective
  21
       judicial or administrative proceeding pending before the Moscow Court in Russia and is being
  22
       conducted under Russian insolvency laws for purposes of liquidating the Debtor’s assets. The
  23
       Russian Proceeding is the sole foreign proceeding respecting the Debtor. Further, the Debtor is a
  24
       native-born Russian citizen who resides in Moscow. Accordingly, the Debtor’s center of main
  25
       interests is Russia and the Russian Proceeding is a foreign main proceeding. Further, recognition
  26
       of the Russian Proceeding as a foreign main proceeding would not be manifestly contrary to any
  27
       public policy of the United States. Lastly, the Debtor’s primary assets located in the United States
  28
       consist of claims and causes of action the Debtor is pursuing in this district.
                                                         1

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 Case2:17-cv-06126-R-PLA
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                                                       Page06/30/21
                                                             15 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1778
                 Memorandum of Points and Authorities Page 6 of 21


   1          3.      The Foreign Representative is also seeking, upon recognition, an order from the
   2   Court affirming the Foreign Representative’s right and power to marshal the Debtor’s assets in the
   3   United States including, without limitation, assuming control over the ongoing actions commenced
   4   by the Debtor in this district and to conduct related discovery. This relief will facilitate the Foreign
   5   Representative’s fulfillment of his duties to investigate, pursue, marshal and liquidate the Debtor’s
   6   assets wherever located for the benefit of all creditors of the Debtor, and to prevent the Debtor from
   7   wrongfully transferring or otherwise dissipating assets of the estate.
   8
                                         JURISDICTION AND VENUE
   9
              4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,
  10
       sections 109 and 1501 of the Bankruptcy Code, and General Order 13-05 of the United States
  11
       District Court for the Central District of California. This is a core proceeding pursuant to 28 U.S.C.
  12
       § 157(b)(2)(P). Venue is proper before this Court pursuant to 28 U.S.C. § 1410(1) or, in the
  13
       alternative, 28 U.S.C. § 1410(3).
  14
                                                 BACKGROUND
  15
         I.   THE DEBTOR AND THE RUSSIAN PROCEEDING
  16
              5.      Mr. Smagin is an individual and citizen of the Russian Federation, residing at
  17
       Desenovskoye settlement, Novovatutinsky Prospect, 10, bldg 1 apt. 44, Moscow, Russia. See
  18
       Ratnikov Declaration ¶ 5; Liquidation Order (defined below) (Moscow Court entered order in May,
  19
       2021, finding Debtor is Russian citizen).
  20
              6.      On May 15, 2020, a creditor of Mr. Smagin filed an application with the Arbitration
  21
       Court of the City of Moscow (the “Moscow Court”) to declare Mr. Smagin insolvent on account
  22
       for a lack of payment and to commence restructuring or liquidation proceedings under Russian
  23
       Bankruptcy Law. Ratnikov Declaration ¶ 10. On August 20, 2020, the Moscow Court presiding
  24
       over the Russian Proceeding ordered the commencement of bankruptcy proceedings to
  25
       restructuring the debts of Mr. Smagin (the “Commencement Order”).                      A copy of the
  26
       Commencement Order is attached to the Ratnikov Declaration as Exhibit A.                          By the
  27
       Commencement Order, the Moscow Court also appointed Mr. Ratnikov as the insolvency
  28
                                                          2

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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                       Page06/30/21
                                                             16 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1779
                 Memorandum of Points and Authorities Page 7 of 21


   1   officer/financial manager for Mr. Smagin’s Russian Proceeding. Ratnikov Declaration ¶ 4; Prof.
   2   Telyukina Declaration ¶ 24.
   3           7.      On April 1, 2021, a meeting of creditors was held to consider the Debtor’s proposed
   4   restructuring plan in the Russian Proceeding. Ratnikov Declaration ¶ 10. The creditors did not
   5   accept the Debtor’s proposed restructuring plan and applied to the Moscow Court for the
   6   commencement of liquidation procedures rather than acceptance of the Debtor’s restructuring plan.
   7   Id. On May 28, 2021, the Moscow Court adjudged the Debtor insolvent and initiated procedures
   8   to liquidate the Debtor’s assets (the "Liquidation Order"). Id. A copy of the Liquidation Order is
   9   attached to the Ratnikov Declaration as Exhibit B. By the Liquidation Order, the Moscow Court
  10   also appointed the Mr. Ratnikov as the trustee for the Debtor to preside over the liquidation. Id. A
  11   status hearing before the Moscow Court is scheduled for November 1, 2021. Id. ¶ 8
  12
        II.    THE DEBTOR’S KEY ASSETS AND LIABILITIES
  13
               A.      Claims Asserted Against the Debtor
  14
               8.      An initial deadline for creditors to register claims against the Debtor has passed.
  15
       Ratnikov Declaration ¶ 12. However, creditors may continue to submit claims during the Russian
  16
       Proceeding but such claims will not be considered “registered.” Id. Any unregistered claims, if
  17
       accepted, will be paid from the balance of the estate (if any) only after all “registered” claims are
  18
       satisfied in full. Id. The Moscow Court has already approved approximately $19.8 million in claims
  19
       and, based on the Foreign Representative’s review of the record of filed claims, it is estimated that
  20
       more than approximately $160 million in claims have been submitted against the Debtor. Id.
  21
                               a.      The Debtor’s Assets
  22
               9.      The Foreign Representative’s investigation into the Debtor’s assets remains
  23
       ongoing. Ratnikov Declaration ¶ 12. However, to date, the California Judgment (defined and
  24
       discussed below), which is located in this district, appears, by far, to be the Debtor’s largest and
  25
       main asset. Id. The Debtor’s other assets in the United States also are comprised of claims and
  26
       causes of action located in this district. Id. ¶ 15.
  27

  28
                                                              3

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 Case2:17-cv-06126-R-PLA
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                                                       Page06/30/21
                                                             17 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1780
                 Memorandum of Points and Authorities Page 8 of 21


   1          10.      In 2014, Mr. Smagin obtained a multi-million dollar award from the London Court
   2   of International Arbitration (the “London Award”) against Ashot Yegiazaryan (“Mr.
   3   Yegiazaryan”), a Russian citizen currently domiciled in Los Angeles, and certain related persons
   4   or entities. See Petition to Confirm Foreign Arbitral Awards, Case No. 2:14-CV-09764 (D.Ct. C.D.
   5   Ca. Dec. 2014), a copy of which is annexed to the Ratnikov Declaration as Exhibit C. The basis
   6   for this award relates to certain contracts and alleged breaches relating to the financing and
   7   development of certain commercial real estate in the Moscow area. Id. at 3.
   8          11.      In 2014, Mr. Smagin commenced an action in the United States District Court for
   9   the Central District of California (the “District Court”) captioned Smagin v. Yegiazaryan et al.,
  10   Case No. 2:14-cv-09764-RGK-PLA (the “2014 Action”), seeking to confirm and enforce the
  11   London Award against Mr. Yegiazaryan. Id. On March 31, 2016, the District Court entered a
  12   judgment confirming the London arbitration award in favor of the Debtor in the amount of
  13   $92,503,652 (the “California Judgment”), which judgment remains unsatisfied. See Ratnikov
  14   Declaration ¶ 17. A copy of the California Judgment is annexed to the Ratnikov Declaration as
  15   Exhibit G.
  16          12.      On August 18, 2017, the Debtor filed an action in the District Court against Mr.
  17   Yegiazaryan and other defendants seeking to recover certain alleged fraudulent transfers captioned
  18   Smagin v. Yegiazaryan et al., Case No. 2:17-cv-6126-RGK-PLA (the “2017 Action”), which action
  19   is currently stayed pending certain decisions from the Ninth Circuit. See Ratnikov Declaration ¶
  20   15. A copy of the Complaint commencing the 2017 Action is annexed to the Ratnikov Declaration
  21   as Exhibit D.
  22          13.      On December 11, 2020, the Debtor commenced an action in the District Court
  23   against Mr. Yegiazaryan and other defendants captioned Smagin v. Compagnie Monégasgue De
  24   Banque et al., Case No. 2:20-cv-11236-RGK-PLA (the “2020 Action”), asserting certain civil
  25   racketeering and conspiracy (RICO) claims against Mr. Yegiazaryan and the other defendants on
  26   account of alleged actions to frustrate the Debtor’s enforcement of the California Judgment. See
  27   Ratnikov Declaration ¶ 15. A copy of the Complaint commencing the 2020 Action is annexed to
  28   the Ratnikov Declaration as Exhibit E. The Debtor identifies himself in the complaint commencing
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                       Page06/30/21
                                                             18 of 4211:08:37
                                                                        Page ID Desc
                                                                                #:1781
                 Memorandum of Points and Authorities Page 9 of 21


   1   the 2020 Action as a Russian citizen residing in Moscow. See Complaint commencing the 2020
   2   Action ¶ 6. In an apparent attempt to frustrate the Russian Proceeding, the Debtor named Mr.
   3   Ratnikov as a defendant in the 2020 Action alleging his collusion with Mr. Yegiazaryan in various
   4   respects. See Ratnikov Declaration ¶ 15; Complaint commencing the 2020 Action at 3-5. Mr.
   5   Ratnikov did not respond or submit to the personal jurisdiction of the District Court with respect to
   6   the 2020 Action. On May 5, 2021, the District Court dismissed the Debtor’s 2020 Action complaint
   7   against all defendants “[b]ecause Smagin is a citizen of Russia residing in Moscow” and did not
   8   experience any injury in the United States that could provide standing for the Defendant to
   9   prosecute the RICO-based claims (the “District Court Dismissal Order”). A copy of the District
  10   Court Dismissal Order is annexed to the Ratnikov Declaration as Exhibit F. The Debtor has
  11   appealed the dismissal.
  12
                                             RELIEF REQUESTED
  13
              14.     The Foreign Representative seeks entry of an order, substantially in the form
  14
       attached to the Application for Recognition of Foreign Main Proceeding and Certain Related Relief
  15
       filed contemporaneously herewith (i) granting the Petition and recognizing the Foreign Proceeding
  16
       as a foreign main proceeding pursuant to section 1517 of the Bankruptcy Code, (ii) recognizing the
  17
       Foreign Representative as the “foreign representative,” as defined in section 101(24) of the
  18
       Bankruptcy Code, of the Debtor and entrusting the Foreign Representative with the administration
  19
       of the Debtors’ assets within the territorial jurisdiction of the United States, (iii) giving full force
  20
       and effect and granting comity in the United States to the Commencement Order, (iv) enjoining all
  21
       parties from commencing or taking any action in the United States to obtain possession of, exercise
  22
       control over, or assert claims against the Debtor or his property, and (v) granting such other and
  23
       further relief as this Court deems just and proper.
  24
                                      BASIS FOR RELIEF REQUESTED
  25
       III.   THIS CASE IS FILED FOR AN ELIGIBLE DEBTOR AND IS APPROPRIATELY
  26          VENUED IN THIS DISTRICT

  27          15.     Only a person who resides or has a domicile, a place of business, or property in the

  28   United States, or a municipality, may be a debtor under the Bankruptcy Code. 11 U.S.C. § 109(a).

                                                          5

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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                        Page06/30/21
                                                              19 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1782
                 Memorandum of Points and Authorities Page 10 of 21


   1   The eligibility requirements of section 109(a) apply in Chapter 15 cases. Drawbridge Special Opps.
   2   Fund LP v. Barnet (In re Barnet), 737 F.3d 238, 247 (2d Cir. 2013). Mr. Smagin’s property in the
   3   United States consists of his rights and causes of action in the 2014 Action, 2017 Action and the
   4   2020 Action, including but not limited to the California Judgment, all of which are located in this
   5   District.
   6           16.     The California Judgment constitutes property of Mr. Smagin, as do the underlying
   7   rights and causes of action. Kingvision Pay-Per--View Ltd. v. Lake Alice Bar, 168 F.3d 347, 352
   8   (9th Cir. 1999) (“A judgment is property”). The California Judgment remains unsatisfied and the
   9   underlying action remains pending in the District Court. Similarly, the 2017 Action is presently
  10   stayed but remains pending in the District Court, and the Debtor has appealed the dismissal of the
  11   2020 Action by the District Court to the Ninth Circuit. The location of intangible assets may be
  12   determined by the power to control over such assets. See generally Standard Oil Co. v. New Jersey,
  13   341 U.S. 428, 439 (1951) (holding that the situs of an intangible asset can be determined by control,
  14   including by jurisdiction over parties owning such property). As the District Court has the power
  15   to interpret and enforce the California Judgment and over the underlying action, and over the 2017
  16   Action and 2020 Action, and over the parties to such actions, the appropriate location of such
  17   property is in this District. See In re British Am. Ins. Co., 488 B.R. 205, 231-32 (Bankr. S.D. Fl.
  18   2013) (“If a court has both subject matter and personal jurisdiction [over the parties], then the claim
  19   subject to litigation is present in that court.”).
  20           17.     The California Judgment is the Debtor’s principal asset in the United States.
  21   Ratnikov Declaration ¶ 12. Accordingly, venue is proper in this district pursuant to 28 U.S.C. §
  22   1410(1).
  23           18.     In the alternative, venue in this district is appropriate under 28 U.S.C. § 1410(3).
  24   The Debtor is seeking to enforce the California Judgment, issued from the District Court, against a
  25   person domiciled in Los Angeles. See Petition commencing 2014 Action ¶ 2 (a copy of which is
  26   annexed to the Ratnikov Declaration as Exhibit C) and Complaint commencing the 2020 Action
  27   (each noting Defendant Ashot Yegiazaryan resides in Los Angeles, California). Further, the Debtor
  28   and key parties to this Chapter 15 Proceeding are party to the ongoing Pending Litigations in this
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                        Page06/30/21
                                                              20 of 4211:08:37
                                                                         Page ID Desc
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                 Memorandum of Points and Authorities Page 11 of 21


   1   district. Accordingly, the convenience of the parties in interest and the interests of justice will best
   2   be served by establishing venue in this district.
   3    IV.   THE RUSSIAN PROCEEDING SHOULD BE RECOGNIZED AS A FOREIGN
              MAIN PROCEEDING
   4
              19.     Section 1517(a) of the Bankruptcy Code provides that the bankruptcy court shall
   5
       enter an order recognizing a foreign proceeding if “(1) such foreign proceeding for which
   6
       recognition is sought is a foreign main proceeding or foreign nonmain proceeding within the
   7
       meaning of section 1502 [of the Bankruptcy Code]; (2) the foreign representative applying for
   8
       recognition is a person or body; and (3) the petition meets the requirements of section 1515” of the
   9
       Bankruptcy Code. 11 U.S.C. § 1517(a). “Such foreign proceeding shall be recognized . . . as a
  10
       foreign main proceeding if it is pending in the country where the debtor has the center of its main
  11
       interests.” 11 U.S.C. § 1517(b). For the reasons set forth below, the Russian Proceeding should be
  12
       recognized as a foreign main proceeding.
  13
              A.      The Russian Proceeding is a Foreign Proceeding
  14
              20.     The Bankruptcy Code defines a foreign proceeding as “a collective judicial or
  15
       administrative proceeding in a foreign country, including an interim proceeding, under a law
  16
       relating to insolvency or the adjustment of debt in which proceeding the assets and affairs of the
  17
       debtor are subject to control or supervision by a foreign court, for the purpose of reorganization or
  18
       liquidation." 11 U.S.C. § 101(23). Here, the Russian Proceeding meets each of these elements.
  19
              21.     As a threshold matter, Russian insolvency proceedings under the Russian
  20
       Bankruptcy Law have previously been recognized by bankruptcy courts as foreign proceedings
  21
       pursuant to section 1517(a) of the Bankruptcy Code. See, e.g., In re ForeignEconomic Industrial
  22
       Bank Limited, “Vneshprombank” Ltd., Case No. 16-13534-mkv, Dkt. No. 24 (Bankr. S.D.N.Y. Feb.
  23
       15, 2017); In re Poymanov, Case No. 17-10516-mkv, Dkt. No. 88 (Bankr. S.D.N.Y. July 31, 2017);
  24
       In re Markus, Case No. 19-10096-mkv, Dkt. No. 29 (Bankr. S.D.N.Y. Apr. 1, 2019).
  25
              22.     A foreign proceeding is generally a “statutory framework that constrains a [debtor’s]
  26
       actions and that regulates the final distribution of a [debtor’s] assets” and includes “acts and
  27
       formalities set down in law so that courts, merchants and creditors can know them in advance, and
  28
                                                           7

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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                        Filed 07/07/21
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                                                        Page06/30/21
                                                              21 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1784
                 Memorandum of Points and Authorities Page 12 of 21


   1   apply them evenly in practice.” In re Betcorp Ltd., 400 B.R. 266, 277-78 (Bankr. D. Nev. 2009).
   2   As set forth in the Prof. Telyukina Declaration, the Russian Proceeding is governed by the Russian
   3   Bankruptcy Law, which addresses the insolvency of debtors and the adjustment of debts, for the
   4   purpose of collecting and distributing the debtor’s assets under judicial supervision to satisfy
   5   creditor claims. Prof. Telyukina Declaration at 8-10.
   6          23.     A proceeding is “collective” if it considers the rights and obligations of all creditors.
   7   See, e.g., In re ABC Learning Centres Ltd., 445 B.R. 318, 328 (Bankr. D. Del. 2010), aff’d, 728
   8   F.3d 301 (3d Cir. 2013). As set forth in the Prof. Telyukina Declaration, Russian Bankruptcy Law
   9   requires all creditors to submit their claims in proceedings such as the Russian Proceeding, and the
  10   Foreign Representative is obligated to dispose of all of the Debtor’s assets (excluded certain assets
  11   exempt by law, not applicable here) and distribute the proceeds among all creditors according to
  12   the rankings and priorities established under the Russian Bankruptcy Law. Prof. Telyukina
  13   Declaration ¶ 22.
  14          24.     A proceeding is administrative where a non-judicial party performs tasks such as
  15   managing assets and conducting investigations, and is judicial when a court exercises its
  16   supervisory powers. In re ABC Learning Centres Ltd., 445 B.R. at 328. Here, the Russian
  17   Proceeding is both an administrative and a judicial proceeding. Here, the Foreign Representative
  18   has been empowered to, among other things, manage, marshal and liquidate the Debtor’s assets,
  19   subject to oversight by the Moscow Court. Prof. Telyukina Declaration ¶¶ 24-25; Ratnikov
  20   Declaration ¶¶ 8, 18.
  21          25.     Further, the Russian Proceeding is subject to the ongoing control and supervision of
  22   the Moscow Court. Ratnikov Declaration ¶ 8. The Russian Proceeding was commenced by order
  23   of the Russian Court after notice and a hearing. Prof. Telyukina Declaration ¶ 24; Ratnikov
  24   Declaration ¶ 10. At commencement, the Foreign Representative was appointed as the financial
  25   manager of the Debtor. Id. After a creditors’ meeting was held in accordance with the Russian
  26   Bankruptcy Law, the creditors rejected the Debtor’s proposed restructuring plan and moved the
  27   Russian Court to reject that plan and convert the Russian Proceeding into a liquidation. Prof.
  28   Telyukina Declaration ¶ 24; Ratnikov Declaration ¶ 11. After notice and a hearing, the Russian
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Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                        Filed 07/07/21
                                                    Entered
                                                        Page06/30/21
                                                              22 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1785
                 Memorandum of Points and Authorities Page 13 of 21


   1   Court rejected the Debtor’s proposed restructuring plan, converted the Russian Proceeding into a
   2   liquidation proceeding, and expanded the Foreign Representative’s mandate to be the trustee over
   3   the Debtor’s assets to liquidate and make distributions to creditors. Id. The Russian Proceeding
   4   remains under supervision of the Russian Court, with a status hearing due on November 1, 2021.
   5   Id.
   6          26.     In addition, the creditors and other parties with interests affected by the Russian
   7   Proceeding have procedural protections and recourse to the Russian Court. Among other things,
   8   creditors and third parties are entitled to notice of the proceedings, and have the right to oppose any
   9   judgment affecting their interests under certain circumstances. Specifically, interested third parties
  10   may oppose a judgment if they were not properly notified to appear before the court, did not in fact
  11   appear before the court (regardless of whether they were summoned) and were not made a party to
  12   the proceeding through joinder or judicial intervention. Prof. Telyukina Declaration ¶ 11.
  13          B.      The Debtor’s Center of Main Interests is in Russia
  14          27.     In addition to qualifying as a “foreign proceeding” under section 101(23), the
  15   Russian Proceeding qualifies as a “foreign main proceeding”. A foreign main proceeding is defined
  16   in the Bankruptcy Code as “a foreign proceeding pending in the country where the debtor has the
  17   center of its main interests.” 11 U.S.C. § 1502(4); see also 11 U.S.C. § 1517(b)(1) (providing that
  18   an order of recognition of a foreign main proceeding shall be entered if the foreign proceeding that
  19   is subject to the petition “is pending in the country where the debtor has the center of its main
  20   interests”). The statute also provides that “[i]n the absence of evidence to the contrary, the debtor’s
  21   registered office, or habitual residence in the case of an individual, is presumed to be the center of
  22   the debtor’s main interests.” 11 U.S.C. § 1516(c).
  23          28.     The Bankruptcy Code does not define “habitual residence,” but courts have
  24   considered this to be virtually identical to the concept of domicile, which is established by “physical
  25   presence in a location coupled with an intent to remain in that location.” Lavie v. Ran (In re Ran),
  26   607 F.3d 1017, 1022 (5th Cir. 2010). See also In re Kemsley, 489 B.R. 346, 353 (Bankr. S.D.N.Y.
  27   2013) (“The term habitual residence includes an element of permanence and stability and is
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 Case2:17-cv-06126-R-PLA
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                                        Filed 07/07/21
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                                                              23 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1786
                 Memorandum of Points and Authorities Page 14 of 21


   1   comparable to domicile; it connotes a meaningful connection to a jurisdiction, a home base where
   2   an individual lives, raises a family, works and has ties to the community.”).
   3          29.     Here, Mr. Smagin is a native-born Russian citizen who resides in Moscow, Russia.
   4   The Debtor has admitted his citizenship and residency in recent judicial filings, including his
   5   complaint commencing the 2020 Action filed on December 11, 2020. See Complaint commencing
   6   2020 Action ¶ 6. In its order dismissing that complaint last month, the District Court specifically
   7   found that Mr. Smagin was a Russian citizen residing in Russia. See District Court Dismissal Order
   8   attached as Exhibit F to the Ratnikov Declaration. Accordingly, the Debtor’s center of main
   9   interests is in Russia and the Russian Proceeding is a foreign main proceeding.
  10          C.      Mr. Ratnikov is an Appropriate Foreign Representative
  11          30.     The Bankruptcy Code defines a foreign representative as “a person or body,
  12   including a person or body appointed on an interim basis, authorized in a foreign proceeding to
  13   administer the reorganization or the liquidation of the debtor’s assets or affairs or to act as a
  14   representative of such foreign proceeding. 11 U.S.C. § 101(24).
  15          31.     As set forth in the Liquidation Order, the Foreign Representative is an individual
  16   appointed by the court in Russia as the trustee for the Debtor. As the Bankruptcy Trustee, the
  17   Foreign Representative is responsible for overseeing the liquidation of the Debtor’s assets,
  18   including verifying creditors’ claims filed against the Debtor, managing the Debtor’s bankruptcy
  19   estate, marshalling and liquidating the Debtor’s assets, including commencing and managing
  20   litigations related to the Debtor’s assets or liabilities, pursuing any assets such as claims and causes
  21   of actions belonging to the Debtor, tracing and challenging transactions that did not benefit the
  22   estate, and pursuing actions against persons that contributed to the Debtor’s insolvency, and
  23   preparing reports for the court. See Prof. Telyukina Declaration ¶¶ 16-19, 24-25; Ratnikov
  24   Declaration ¶ 8. Additionally, the Foreign Representative is authorized to commence this Petition
  25   and seek recognition of the Russian Proceeding. See Prof. Telyukina Declaration ¶ 25; Ratnikov
  26   Declaration ¶ 2.
  27          32.     Therefore, Mr. Ratnikov is a proper “foreign representative” within the meaning of
  28   section 101(24) of the Bankruptcy Code and for purposes of chapter 15 of the Bankruptcy Code.
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Case
 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                        Filed 07/07/21
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                                                        Page06/30/21
                                                              24 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1787
                 Memorandum of Points and Authorities Page 15 of 21


   1          D.      The Requirements of Section 1515 Have Been Satisfied
   2          33.     Recognition of a foreign main proceeding also requires satisfaction of the procedural

   3   requirements of section 1515 of the Bankruptcy Code. 11 U.S.C. § 1517(a)(3). All such procedural

   4   requirements have been satisfied here. First, the Foreign Representative has submitted documents,

   5   translated into English, which evidence the existence of the Russian Proceeding and the

   6   appointment of the Foreign Representative as foreign representative thereof, as required by sections

   7   1515(b)(1)-(2) and (d) of the Bankruptcy Code. See Ratnikov Declaration ¶¶ 4, 7 and Exhibits

   8   thereto. The Foreign Representative has also identified the Russian Proceeding as the only foreign

   9   insolvency proceeding currently pending with respect to the Debtor and satisfies the requirements

  10   of section 1515(c) of the Bankruptcy Code. See Ratnikov Declaration ¶ 8. Finally, the lists and

  11   statements required pursuant to Bankruptcy Rule 1007(a)(4) were included with the Petition.

  12          E.      Recognition of the Russian Proceeding is not Manifestly Contrary to Public
                      Policy
  13
              34.     For the reasons set forth above, the Petition meets the standard for recognition of a
  14
       foreign main proceeding under section 1517 of the Bankruptcy Code. As the Russian Proceeding
  15
       and the empowerment of the Foreign Representative was ordered by the Moscow Court after due
  16
       process in accordance with Russian Bankruptcy Law, recognizing the Russian Proceeding is
  17
       congruent with the principle of comity that is “central to Chapter 15.” In re Vitro S.A.B. de CV, 701
  18
       F.3d 1031, 1043 (5th Cir. 2012). In addition, the relief requested here would foster cooperation
  19
       between courts in Russia and the United States, which is a paramount and statutorily recognized
  20
       goal of proceedings under chapter 15 of the Bankruptcy Code. 11 U.S.C. § 1501 (noting that the
  21
       “objectives” of chapter 15 include “cooperation between courts of the United States [and other
  22
       United States parties] and the courts and other competent authorities of foreign countries involved
  23
       in cross-border insolvency cases”). The legislative history indicates that the “public policy”
  24
       exception is narrow, applying only to the “most fundamental policies of the United States.” H. Rep.
  25
       No. 109-31, pt. 1, 109th Cong., 1st Sess. 109 (2005). Courts have similarly construed this free-
  26
       floating public policy exception narrowly. See In re Rede Energia, S.A., 515 B.R. 69, 92 (Bankr.
  27
       S.D.N.Y. 2014) (“[T]he public policy exception is clearly drafted in narrow terms and ‘the few
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 Case2:17-cv-06126-R-PLA
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                                                              25 of 4211:08:37
                                                                         Page ID Desc
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                 Memorandum of Points and Authorities Page 16 of 21


   1   reported cases that have analyzed [section] 1506 at length recognize that it is to be applied
   2   sparingly.’”) (citation omitted); ABC Learning Centres Ltd., 445 B.R. at 335. Under this standard,
   3   “[t]he key determination . . . is whether the procedures used [in the foreign proceeding] meet our
   4   fundamental standards of fairness.” Rede Energia, 515 B.R. at 91. It is well established “that the
   5   relief granted in a foreign proceeding and the relief available in the United States do not need to be
   6   identical.” Id.; see also ABC Learning Centres Ltd., 728 F.3d 301, 309 (3d Cir. 2013).
   7          35.     Here, the Foreign Proceeding is consistent with the public policy of the United
   8   States. As described above and in the Ratnikov Declaration and Prof. Telyukina Declaration, the
   9   Russian Bankruptcy Law provides for a process that ensures fair treatment of creditors. See Prof.
  10   Telyukina Declaration ¶¶ 9-11; Ratnikov Declaration ¶ 8, 18. The Debtor and numerous creditors
  11   have been actively involved in the Russian Proceeding and will continue to be heard by the Moscow
  12   Court. The Foreign Representative is required under the Russian Bankruptcy Law to act for the
  13   benefit of the Debtors’ creditors collectively, and is operating under the continued supervision of
  14   the Moscow Court. See Prof. Telyukina Declaration ¶ 24; Ratnikov Declaration ¶ 8.
  15     V.   RELIEF UNDER SECTIONS 1520 AND 1521 IS APPROPRIATE

  16          36.     The Debtor’s assets in the United States principally consist of certain actions in this

  17   District, in particular the California Judgment. Ratnikov Declaration ¶ 17. Indeed, the Debtor’s

  18   objections to the Russian Proceeding relied in part on the existence of the California Judgment.

  19   Ratnikov Declaration ¶ 17. While the Foreign Representative’s investigation into the Debtor’s

  20   assets is ongoing, it is likely that the California Judgment will be a key asset and a material source

  21   of recovery for the Debtor’s creditors. Id. However, the Debtor has evidenced an unwillingness

  22   to pay his debts, does not represent or act in the interests of the creditors in the Russian Proceeding,

  23   and is incurring additional liabilities to be satisfied from his assets in pursuit of the California

  24   Judgment and the related actions in this District. Id. Most recently, in an apparent attempt to evade

  25   the reach of his creditors, the Debtor improperly and without authorization transferred a substantial

  26   portion of his interest in the California Judgment (i.e., over $115 million of receivables) to a third-

  27   party, Lionmoor Foundation (the “Unauthorized Receivables Transfer”). The Debtor has not

  28   turned over the proceeds to the estate. Ratnikov Declaration ¶ 21. In contrast, the Foreign

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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                              26 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1789
                 Memorandum of Points and Authorities Page 17 of 21


   1   Representative is charged with and has a significant interest in protecting and monetizing the
   2   California Judgment for the benefit of the Debtor’s creditors. Id.
   3           37.     Upon recognition of the Russian Proceeding as a foreign main proceeding, the
   4   Bankruptcy Code provides for certain relief to the Foreign Representative pursuant to section 1520
   5   with respect to the Debtor’s property within the territorial jurisdiction of the United States without
   6   any further showing.
   7           38.     Specifically, section 1520 of the Bankruptcy Code provides for the following relief:
   8                   (1)     sections 361 and 362 apply with respect to the debtor and the
                               property of the debtor that is within the territorial jurisdiction
   9                           of the United States;
  10                   (2)     sections 363, 549, and 552 apply to a transfer of an interest
                               of the debtor in property that is within the territorial
  11                           jurisdiction of the United States to the same extent that the
                               sections would apply to property of an estate;
  12                   (3)     unless the court orders otherwise, the foreign representative
                               may operate the debtor’s business and may exercise the rights
  13                           and powers of a trustee under and to the extent provided by
                               sections 363 and 552; and
  14
                       (4)     section 552 applies to property of the debtor that is within the
  15                           territorial jurisdiction of the United States.

  16    11 U.S.C. § 1520(a).
  17           39.     In addition, where necessary to effectuate the purpose of Chapter 15 and to protect
  18   the assets of the debtor or interests of its creditors, the court may grant additional appropriate relief,
  19   including:
  20                   (1)     staying the commencement or continuation of an individual
                               action or proceeding concerning the debtor’s assets, rights,
  21                           obligations or liabilities to the extent they have not been
                               stayed under section 1520(a);
  22
                       (2)     staying execution against the debtor’s assets to the extent it
  23                           has not been stayed under section 1520(a);
                       (3)     suspending the right to transfer, encumber or otherwise
  24                           dispose of any assets of the debtor to the extent this right has
                               not been suspended under section 1520(a);
  25
                       (4)     providing for the examination of witnesses, the taking of
  26                           evidence or the delivery of information concerning the
                               debtor’s assets, affairs, rights, obligations or liabilities;
  27                   (5)     entrusting the administration or realization of all or part of
                               the debtor’s assets within the territorial jurisdiction of the
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 Case2:17-cv-06126-R-PLA
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                                                                         Page ID Desc
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                 Memorandum of Points and Authorities Page 18 of 21


   1                           United States to the foreign representative or another person,
                               including an examiner, authorized by the court;
   2
                        (6)    extending relief granted under section 1519(a); and
   3                    (7)    granting any additional relief that may be available to a
                               trustee, except for relief available under sections 522, 544,
   4                           545, 547, 548, 550, and 724(a).
   5
       11 U.S.C. § 1521(a).
   6          40.       As set forth in the Foreign Representative Declaration, the Debtor’s assets in the
   7   United States principally consist of certain actions in this District, in particular the California
   8   Judgment. Ratnikov Declaration ¶ 17. Indeed, the Debtor’s objections to the Russian Proceeding
   9   relied in part on the existence of the California Judgment. Id. While the Foreign Representative’s
  10   investigation into the Debtor’s assets is ongoing, it is likely that the California Judgment will be a
  11   key asset and a material source of recovery for the Debtor’s creditors. Id. However, the Debtor
  12   has evidenced an unwillingness to pay his debts, does not represent or act in the interests of the
  13   creditors in the Russian Proceeding, and is incurring additional liabilities to be satisfied from his
  14   assets in pursuit of the California Judgment and the related actions in this District. Id. ¶¶ 14, 17.
  15   The Debtor’s recent unauthorized transfer of a substantial portion of his interests in the California
  16   Judgment to a third-party and failure to turnover any proceeds therefrom to the estate smacks of
  17   bad faith. See Id. ¶ 17. In contrast, the Foreign Representative is charged with and has a significant
  18   interest in protecting and monetizing the California Judgment for the benefit of the Debtor’s
  19   creditors. Id.
  20          41.       Accordingly, the Foreign Representative seeks an order from the Court (i)
  21   establishing that the Debtor’s rights and causes of action arising from or relating to the 2014 Action,
  22   2017 Action and 2020 Action, including but not limited to the California Judgment and the pending
  23   appeal of the dismissal of the 2020 Action, are under the exclusive control and administration of
  24   the Foreign Representative, (ii) authorizing the Foreign Representative’s appearance in such actions
  25   in such capacity and on behalf of the Debtor for all purposes, and (iii) enjoining the Debtor from
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 Case2:17-cv-06126-R-PLA
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                                                                         Page ID Desc
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                 Memorandum of Points and Authorities Page 19 of 21


   1   interference with the Foreign Representative’s efforts with respect to such proceedings and the
   2   California Judgment.1
   3          42.     The Foreign Representative is authorized and obligated under the Liquidation Order
   4   and Russian Bankruptcy Law to exercise such powers and to take such actions. See Foreign
   5   Declaration ¶ 25; Ratnikov Declaration ¶¶ 8, 18, 20. The Foreign Representative submits that the
   6   automatic relief provided under section 1520 encompasses this requested relief. See 11 U.S.C.
   7   1520(a)(3) (“the foreign representative may operate the debtor’s business and may exercise the
   8   rights and powers of a trustee under and to the extent provided by sections 363 and 552.”).
   9   However, out of an abundance of caution, the Foreign Representative further submits that such
  10   relief, to the extent not already provided by operation of section 1520, is necessary and appropriate
  11   under the circumstances and should be granted pursuant to section 1521. See 11 U.S.C. §1521(a)(5)
  12   (providing for the foreign representative to administer and realize on assets within the territorial
  13   jurisdiction of the United States).
  14          43.     Further, to diligently fulfill his duties under the Liquidation Order and Russian
  15   Bankruptcy Law in administering and realizing on the Debtor’s actions pending in this District, the
  16   Foreign Representative requests authority to obtain discovery from persons within the territorial
  17   jurisdiction of the United States. Ratnikov Declaration ¶¶ 20, 23. As noted above, the relief
  18   available upon request to a foreign representative may include “providing for the examination of
  19   witnesses, the taking of evidence or the delivery of information concerning the debtor’s assets,
  20   affairs, rights, obligations or liabilities.” 11 U.S.C. § 1521(a)(4).
  21          44.     Courts have held that section 1521(a)(4) provides for not only the examination of
  22   witnesses but the production of documents. See In re Millennium Glob. Emerging Credit Master
  23   Fund Ltd., 471 B.R. 342, 346 (Bankr. S.D.N.Y. 2012) (holding that section 1521(a)(4) “enables a
  24   Foreign Representative to take broad discovery concerning the property and affairs of a debtor,”
  25   including document requests); In re SPhinX Ltd., 351 B.R. 103, 113 (Bankr. S.D.N.Y. 2006)
  26   (recognizing various forms of relief available to a foreign representative in chapter 15 proceedings,
  27
       1 In light of the Debtor’s recent unauthorized transfer of a substantial interest in the California
  28     Judgment in violation of Russian Bankruptcy Laws, the Foreign Representative also will be
         seeking relief from the Moscow Court. See Ratnikov Declaration ¶ 22.
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                        Page06/30/21
                                                              29 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1792
                 Memorandum of Points and Authorities Page 20 of 21


   1   including “the examination of witnesses and the delivery of information”).                The Foreign
   2   Representative seeks, upon recognition of the Russian Proceeding, to take the discovery of all
   3   entities, that upon information and belief, are related to, affiliated with, owned, or controlled by
   4   Yegiazaryan or related entities, the recent Unauthorized Receivables Transfer, or that otherwise
   5   may have information relevant to the Debtor’s claims and actions. The issuance of one or more
   6   subpoenas compelling the production of documents and the attendance at deposition by parties who
   7   have, or may have, knowledge of the whereabouts of estate assets is consistent with the fundamental
   8   policies of the Russian Bankruptcy Law and the Bankruptcy Code.
   9
                                        RESERVATION OF RIGHTS
  10
              45.     Pursuant to sections 1519(a) and 1521(a) of the Bankruptcy Code, the Foreign
  11
       Representative hereby reserves all rights to seek, at any point (either before or after a change in
  12
       circumstances under section 1518 of the Bankruptcy Code), further and other relief from this Court
  13
       that may be necessary to implement the Russian Proceeding and to effectuate the purposes of
  14
       chapter 15.
  15
                                      HEARING DATE AND NOTICE
  16
              46.     The Foreign Representative requests that the Court set a date for a hearing at the
  17
       earliest possible time pursuant to section 1517(c) of the Bankruptcy Code and Bankruptcy Rule
  18
       2002(q) to approve the Petition and recognize the Russian Proceeding as a foreign main proceeding.
  19
       If no objections to the Petition are filed by the date ordered for such objections, the Foreign
  20
       Representative requests that the Court enter the Proposed Order recognizing the Russian
  21
       Proceeding as a foreign main proceeding without a hearing.
  22
              47.     In furtherance of this request, the Foreign Representative has filed the Ex Parte Motion
  23
       for Order Scheduling Hearing on Chapter 15 Petition andSpecifying Form and Manner of Notice
  24
       contemporaneously herewith.
  25
       ///
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       ///
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 Case2:17-cv-06126-R-PLA
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                                                              30 of 4211:08:37
                                                                         Page ID Desc
                                                                                 #:1793
                 Memorandum of Points and Authorities Page 21 of 21


   1                                             CONCLUSION
   2          WHEREFORE, the Foreign Representative respectfully requests that the Court grant the
   3
       relief requested herein and grant such other and further relief as is just and proper.
   4

   5
        Dated: June 30, 2021                         RAINES FELDMAN LLP
   6

   7                                                 By:        /s/ Hamid R. Rafatjoo
                                                                 Hamid R. Rafatjoo
   8                                                             Carollynn H.G. Callari
                                                                 David S. Forsh
   9
                                                     Counsel for the Foreign Representative
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                                                           31 of 4211:08:37
                                                                      Page ID Desc
                                                                              #:1794
                             Exhibit A Page 1 of 6




                         EXHIBIT A




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 Case2:17-cv-06126-R-PLA
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                                                           32 of 4211:08:37
                                                                      Page ID Desc
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                             Exhibit A Page 2 of 6


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   9   Counsel for the Foreign Representative
  10

  11                              UNITED STATES BANKRUPTCY COURT

  12                CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

  13    In re:                                          Case No. 2:21-bk-15342-BB

  14    VITALY IVANOVICH SMAGIN,                        Chapter 15

  15                Debtor in a Foreign Proceeding.     ORDER GRANTING RECOGNITION
                                                        AND RELIEF IN AID OF A FOREIGN
  16                                                    MAIN PROCEEDING PURSUANT TO
                                                        11 U.S.C. §§ 1517, 1520 AND 1521
  17
                                                        Date:
  18                                                    Time:
                                                        Place: Courtroom
  19                                                           255 Temple Street
                                                               Los Angeles, CA 90012
  20

  21               Upon the petition filed by Evgeniy Nikolaevich Ratnikov (“Mr. Ratnikov” or the
  22   “Foreign Representative”) commencing this chapter 15 case in respect of Vitality Ivanovich
  23   Smagin (“Mr. Smagin” or the “Debtor”) and seeking recognition of the ongoing liquidation
  24   proceeding against Mr. Smagin in the Arbitration Court of the City of Moscow (the “Russian
  25   Proceeding”) under Federal Law No 127-FZ “On Insolvency (Bankruptcy)” (the “Russian
  26   Bankruptcy Law”) as a foreign main proceeding under the Bankruptcy Code; and due and
  27   timely notice of the filing of the Petition and the hearing thereon having been provided by the
  28

                                                                                     Exhibit A, Page 18
       2904120.1
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                      Filed 07/07/21
                                                 Entered
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                                                           33 of 4211:08:37
                                                                      Page ID Desc
                                                                              #:1796
                             Exhibit A Page 3 of 6


   1
       Foreign Representative; and the Court having reviewed and considered all pleadings and other
   2
       documents filed in connection with the Petition, including without limitation the Memorandum
   3
       in Support of Recognition as a Foreign Main Proceeding and Certain Related Relief (the
   4
       “Memorandum”),1 and after due deliberation and sufficient cause appearing therefore,
   5
                   THE COURT HEREBY FINDS AND CONCLUDES THAT:
   6
                   A.     To the extent any of the following findings of fact constitute conclusions of law,
   7
       they are adopted as such. To the extent any of the following conclusions of law constitute
   8
       findings of fact, they are adopted as such.
   9
                   B.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and
  10
       1334. Venue of this proceeding is proper in this judicial district pursuant to 28 U.S.C. §
  11
       1410(1) or, in the alternative, 28 U.S.C. §1410(3). This is a core proceeding under 28 U.S.C.
  12
       § 157(b)(2)(P).
  13
                   C.     Notice of the Petition and related pleadings was provided by the Foreign
  14
       Representative in accordance with the Order Scheduling Hearing on Chapter 15 Petition and
  15
       Approving Form and Manner of Notice. Under the circumstances, such service constitutes
  16
       due, adequate and sufficient notice of the Petition, the related pleadings and the relief requested
  17
       therein, to all parties entitled to such notice under the Bankruptcy Code and Bankruptcy Rules,
  18
       and no other or further notice is necessary or required.
  19
                   D.     The Russian Proceeding is a “foreign proceeding” within the meaning of section
  20
       101(23) of the Bankruptcy Code.
  21
                   E.     The Foreign Representative is the duly appointed “foreign representative” of
  22
       the Debtor within the meaning of section 101(24) of the Bankruptcy Code.
  23
                   F.     The Debtor’s center of main interests is Russia. The Russian Proceeding is a
  24
       “foreign main proceeding” within the meaning of section 1502(4) of the Bankruptcy Code.
  25
                   G.     This case was properly commenced pursuant to section 1515 of the Bankruptcy
  26
       Code.
  27

  28   1
           Capitalized terms used but not defined herein have the meaning ascribed to such terms in the Memorandum.

                                                                                                Exhibit A, Page 19
       2904120.1
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                     Page06/30/21
                                                           34 of 4211:08:37
                                                                      Page ID Desc
                                                                              #:1797
                             Exhibit A Page 4 of 6


   1
                   NOW, THEREFORE, IT IS HEREBY:
   2
                   ORDERED that, pursuant to sections 1517(a) and 1517(b)(1) of the Bankruptcy Code,
   3
       the Russian Proceeding is granted recognition as a foreign main proceeding, with Mr. Ratnikov
   4
       as the foreign representative of the Russian Proceeding; and it is further
   5
                   ORDERED that the (i) order of the Arbitration Court of the City of Moscow dated
   6
       August 20, 2020 initiating a debt restructuring procedure in respect of Mr. Smagin and
   7
       appointing Mr. Ratnikov as the financial administrator of the Debtor, and (ii) order of the
   8
       Arbitration Court of the City of Moscow dated May 28, 2021 converting the debt restructuring
   9
       procedure in respect of Mr. Smagin into a liquidation procedure and appointing Mr. Ratnikov
  10
       as the trustee to conduct said liquidation, are recognized by this Court and applicable to the
  11
       Debtor’s creditors located in the territorial jurisdiction of the United States; and it is further
  12
                   ORDERED that all relief afforded to a foreign main proceeding pursuant to 11 U.S.C.
  13
       § 1520(a) is hereby granted to the Russian Proceeding, the Debtor’s assets, and the Foreign
  14
       Representative as applicable; and it is further
  15
                   ORDERED that, pursuant to sections 362 and 1520(a) of the Bankruptcy Code, all
  16
       persons are hereby stayed from taking any actions or steps within the territorial jurisdiction of
  17
       the United States in contravention or to the detriment of the Russian Proceeding or its
  18
       administration, implementation or enforcement, including without limitation transferring,
  19
       encumbering or otherwise disposing of any assets, whether tangible or intangible, of the Debtor
  20
       or commencing or continuing any litigation or other proceeding (or enforcing any order
  21
       therefrom) against or involving the Foreign Representative (in the Foreign Representative’s
  22
       capacity as foreign representative of the Debtor) and any assets or any rights, obligations, or
  23
       liabilities of the Debtor; and it is further
  24
                   ORDERED that, pursuant to section 1521(a)(3) of the Bankruptcy Code, the right of
  25
       any person to transfer, encumber or otherwise dispose of any asset of the Debtor is hereby
  26
       suspended except with the prior consent of the Foreign Representative; and it is further
  27

  28

                                                                                          Exhibit A, Page 20
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                                                           35 of 4211:08:37
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                                                                              #:1798
                             Exhibit A Page 5 of 6


   1
                   ORDERED that, pursuant to section 1521(a)(4) of the Bankruptcy Code, the Foreign
   2
       Representative is authorized to issue subpoenas for the production of documents and
   3
       examination of witnesses to parties in the United States concerning the assets, affairs, rights,
   4
       obligations, or liabilities of the Debtor and in furtherance of the Russian Proceeding; and it is
   5
       further
   6
                   ORDERED that, pursuant to section 1521(a)(5) of the Bankruptcy Code, the Foreign
   7
       Representative shall exclusively administer all of the Debtor’s assets within the territorial
   8
       jurisdiction of the United States. Without limiting the foregoing, the Foreign Representative
   9
       shall administer and exercise all of the Debtor’s rights and powers concerning or relating to
  10
       Smagin v. Yegiazaryan et al., Case No. 2:14-cv-09764-RGK-PLA (C.D. Cal.), Smagin v.
  11
       Yegiazaryan et al., Case No. 2:17-cv-6126-RGK-PLA (C.D. Cal.), Smagin v. Compagnie
  12
       Monégasgue De Banque et al., Case No. 2:20-cv-11236-RGK-PLA (C.D. Cal.) and any
  13
       appeals relating to the foregoing; and it is further
  14
                   ORDERED that no action taken by the Foreign Representative, or any of his
  15
       successors, agents, representatives, advisers or counsel, in preparing, disseminating, applying
  16
       for, implementing or otherwise acting in furtherance of or in connection with the Russian
  17
       Proceeding or this Chapter 15 case, or any adversary proceeding herein, or further proceeding
  18
       commenced hereunder, shall be deemed to constitute a waiver of the immunity afforded to
  19
       such persons under 11 U.S.C. §§ 306 and 1510; and it is further
  20
                   ORDERED, that this Order shall be served upon all parties as identified in the Debtor’s
  21
       lists filed in connection with the Petition, by electronic mail or by facsimile transmission, or
  22
       by courier or in the event service by electronic mail or facsimile cannot be accomplished, then
  23
       by either United States mail, first class postage prepaid, overnight delivery, or electronic mail,
  24
       within 5 business days; and it is further
  25
                   ORDERED, that Foreign Representative shall retain the right to seek further relief from
  26
       this Court that may be necessary to implement the Russian Proceeding and/or to effectuate the
  27
       purposes of chapter 15; and it is further
  28

                                                                                         Exhibit A, Page 21
       2904120.1
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 Case2:17-cv-06126-R-PLA
       2:21-bk-15342-BB Doc
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                             Exhibit A Page 6 of 6


   1
                   ORDERED, that this Court shall retain jurisdiction with respect to the enforcement,
   2
       amendment or modification of this Order.
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                                                                                      Exhibit A, Page 22
       2904120.1
                                                                                      Exhibit 1, Page 35
Case 2:17-cv-06126-R-PLA Document 63 Filed 07/07/21 Page 37 of 42 Page ID #:1800




                        EXHIBIT 2
  Case
Case    2:21-bk-15342-BB Doc
     2:17-cv-06126-R-PLA     12 Filed
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                                      Filed 07/07/21     07/01/21
                                                      Page        12:22:45
                                                           38 of 42  Page IDDesc
                                                                            #:1801
                          Main Document Page 1 of 4


   1   Hamid R. Rafatjoo (SBN 181564)
       RAINES FELDMAN LLP
   2   1800 Avenue of the Stars, 12th Floor
       Los Angeles, CA 90067                                            FILED & ENTERED
   3   Telephone:    (310) 440-4100
       Facsimile:    (310) 691-1367
   4   Email:        hrafatjoo@raineslaw.com                                  JUL 01 2021
   5   Carollynn H.G. Callari (Pro Hac Vice Pending)                     CLERK U.S. BANKRUPTCY COURT
       David S. Forsh (Pro Hac Vice Pending)                             Central District of California
   6   RAINES FELDMAN LLP                                                BY wesley DEPUTY CLERK

       One Rockefeller Plaza, 10th Floor
   7   New York, NY 10020
       Email:        ccallari@raineslaw.com                       CHANGES MADE BY COURT
   8                 dforsh@raineslaw.com
   9   Counsel for the Foreign Representative
  10
                                   UNITED STATES BANKRUPTCY COURT
  11
                     CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
  12
           In re:                                          Case No. 2:21-bk-15342-BB
  13
           VITALY IVANOVICH SMAGIN,                        Chapter 15
  14
                     Debtor in a Foreign Proceeding.       ORDER SCHEDULING HEARING ON
  15                                                       CHAPTER 15 PETITION AND
                                                           APPROVING FORM AND MANNER
  16                                                       OF NOTICE
  17

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  19                Upon the motion (the “Motion”)1 of Evgeniy Nikolaevich Ratnikov (the “Foreign

  20   Representative”), the duly appointed insolvency officer and trustee of Vitaly Ivanovich

  21   Smagin (the “Debtor” or “Mr. Smagin”) in Mr. Smagin’s pending insolvency proceeding (the

  22   “Russian Proceeding”) under the Russian Federal Law No 127-FZ “On Insolvency

  23   (Bankruptcy)” dated October 26, 2002, as amended (the “Russian Bankruptcy Law”), for the

  24   ex parte entry of an order scheduling a hearing on the Chapter 15 Petition for Recognition of

  25   a Foreign Proceeding and the Foreign Representative’s Application for Recognition of

  26   Foreign Main Proceeding and Certain Related Relief (collectively, the “Petition”) and

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       1
             Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in
  28
             the Motion.
                                                       1
                                                                                         Exhibit 2, Page 36
       2904127.1
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  Case
     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
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                             12 Filed
                                  63 07/01/21
                                      Filed 07/07/21
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                                                      Page
                                                         07/01/21
                                                           39 of 42
                                                                  12:22:45
                                                                     Page IDDesc
                                                                            #:1802
                          Main Document Page 2 of 4


   1
       specifying the form and manner of notice of the hearing thereon; and the Court having
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       reviewed and considered all pleadings and other documents filed in connection with the
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       Motion, and after due deliberation and sufficient cause appearing therefor, it is hereby
   4
                   ORDERED, that the form of the Notice attached as Exhibit B to the Motion is hereby
   5
       APPROVED, provided such notice is modified in both of the following respects:
   6
                       1. The second paragraph on page 2 of the Notice that begins at line 4.5 shall
   7
                           be deleted and replaced with the following:
   8
                   PLEASE TAKE FURTHER NOTICE that, pursuant to the Order Scheduling Hearing on Verified
   9               Chapter 15 Petition and Specifying Form and Manner of Notice of Hearing (the “Scheduling
                   Order”), a copy of which is attached hereto, the Bankruptcy Court has scheduled a hearing on
  10
                   July 28, 2021 at 11:00 a.m. (PST) before the Honorable Sheri Bluebond (the “Hearing”). The
  11               Hearing will be conducted via Zoom for Government. The service is free to participants.
                   Participants will be connected with the courtroom using these technologies but will not be
  12               physically present in the courtroom. Participants may connect to the videoconference
                   through an Internet browser by entering the Videoconference URL shown below, as well as
  13               the meeting ID and password, when prompted.
  14               Videoconference URL: https://cacb.zoomgov.com/j/16161090855
  15               Meeting ID:          161 6109 0855
                   Password:            148508
  16
                   If a participant is unable to send and receive audio through his/her computer, the audio of
  17               the hearing may be accessed by telephone using the following audio conference information:

  18               Audioconference Tel. No.: (Dial by your location)
                       +1 669 254 5252 US (San Jose)
  19                   +1 669 216 1590 US (San Jose)
  20                   +1 646 828 7666 US (New York)
                       +1 551 285 1373 US
  21                   833 568 8864 US Toll-free

  22               Meeting ID: 161 6109 0855
                   Password: 148508
  23
                       2. The sixth paragraph on page 2 that begins at line 17 shall be deleted and
  24
                           replaced with the following:
  25
                   PLEASE TAKE FURTHER NOTICE that the Foreign Representative intends to raise issues
  26
                   pertaining to foreign law, specifically Russian Federal Law No 127-FZ “On Insolvency
  27               (Bankruptcy)” and related Russian laws, in connection with the Petitions: (i) recognizing the
                   Russian Proceeding as a foreign main proceeding pursuant to chapter 15 of the Bankruptcy
  28               Code and the Foreign Representative as the foreign representative under Chapter 15 of the

                                                             2
                                                                                              Exhibit 2, Page 37
       2904127.1
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     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
                         Document
                             12 Filed
                                  63 07/01/21
                                      Filed 07/07/21
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                                                      Page
                                                         07/01/21
                                                           40 of 42
                                                                  12:22:45
                                                                     Page IDDesc
                                                                            #:1803
                          Main Document Page 3 of 4


   1               Bankruptcy Code including sections 1509 and 1517 of the Bankruptcy Code and entrusting the
                   Foreign Representative with the administration of the Debtor’s assets within the territorial
   2               jurisdiction of the United States; (ii) granting automatic relief pursuant to section 1520 of the
                   Bankruptcy Code; (iii) giving full force and effect and granting comity in the United States to
   3
                   the order of the Moscow Court implementing the liquidation of the Debtor; (iv) enjoining all
   4               parties from commencing or taking any action in the United States to obtain possession of,
                   exercise control over, or assert claims against the Debtor or his property; and (v) granting
   5               such other and further relief as this Court deems just and proper.

   6
                   AND IT IS FURTHER ORDERED that, prior to mailing the Notice or publishing the
   7
       Notice of Recognition Hearing, the Foreign Representative shall fill in any missing dates and
   8
       other information as ordered by this Court, correct any typographical errors, conform the
   9
       provisions thereof to the provisions of this Order, and make such other and further non-
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       material, non-substantive changes as the Foreign Representative deems necessary or
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       appropriate; and it is further
  12
                   ORDERED that copies of the Notice, the Petition and the documents filed in support
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       thereof shall be served by United States mail, first-class postage prepaid within three business
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       days of entry of this Order upon the Chapter 15 Notice Parties at their last known addresses;
  15
       and it is further
  16
                   ORDERED that the Foreign Representative shall promptly publish the Notice in the
  17
       Unified Federal Register of Bankruptcy Data; and it is further
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                   ORDERED that notice and service in accordance with this Order is hereby approved
  19
       as adequate and sufficient notice of the requested relief; and it is further
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                   ORDERED that a hearing (the “Hearing”) on the relief sought in the Petition shall be
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       held on July 28, 2021 at 11:00 a.m. Pacific Time (the “Hearing Date”), or as soon thereafter
  22
       as counsel may be heard, at the United States Bankruptcy Court for the Central District of
  23
       California, via Zoom for Government, utilizing the meeting information set forth above; and
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       it is further
  25
                   ORDERED that responses or objections, if any, to the requested relief must be in
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       writing describing the basis therefor and shall be filed with the clerk of the Court and served
  27
       upon Raines Feldman LLP, 1800 Avenue of the Stars, 12th Floor, Los Angeles, California
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                                                                                                  Exhibit 2, Page 38
       2904127.1
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     2:17-cv-06126-R-PLA
        2:21-bk-15342-BB Doc
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                                                         07/01/21
                                                           41 of 42
                                                                  12:22:45
                                                                     Page IDDesc
                                                                            #:1804
                          Main Document Page 4 of 4


   1
       90067 (Attention: Hamid R. Rafatjoo), counsel to the Foreign Representative, so as to be
   2
       received on or before 4:00 p.m. Pacific Time on July 14, 2021; and it is further
   3
                   ORDERED that replies in support of the relief sought in the Petition shall be filed with
   4
       the Court on or before 4:00 p.m. Pacific Time on July 21, 2021; and it is further
   5
                   ORDERED that the Hearing may be adjourned from time to time without notice other
   6
       than an announcement in open court at the Hearing or the adjourned date of the hearing; and it
   7
       is further
   8
                   ORDERED that all notice requirements specified in section 1514(c) of Bankruptcy
   9
       Code not incorporated herein are otherwise waived; and it is further
  10
                   ORDERED that service pursuant to this Order shall be good and sufficient service and
  11
       adequate notice of the hearing to consider the Petition and the Foreign Representative’s request
  12
       for an order granting recognition of the foreign proceeding as a “foreign main proceeding” and
  13
       for other appropriate relief, including imposition of the automatic stay and recognition of the
  14
       Foreign Representative’s powers and duties as foreign representative under Chapter 15 of the
  15
       Bankruptcy Code.
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  24   Date: July 1, 2021

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                                                                                          Exhibit 2, Page 39
       2904127.1
Case 2:17-cv-06126-R-PLA Document 63 Filed 07/07/21 Page 42 of 42 Page ID #:1805



   1                                     CERTIFICATE OF SERVICE
   2          I declare that I am a citizen of the United States and I am employed in Los Angeles,
   3   California; that my business address is 1800 Avenue of the Stars, 12th Floor, Los Angeles,
       California 90067; that I am over the age of 18 and not a party to the above-entitled action.
   4
               I am employed by a member of the United States District Court for the Central District
   5   of California, and at whose direction I caused service of the foregoing document entitled
       NOTICE OF FILING CHAPTER 15 PETITION FOR RECOGNITION OF A
   6   FOREIGN PROCEEDING on the interested parties as follows:

   7               [X]   BY ELECTORNIC TRANSMISSION: by electronically filing the foregoing
                         with the Clerk of the District Court using its CM/ECF System pursuant to the
   8                     Electronic Case Filing provisions of the United States District Court General
                         Order and E-Government Act of 2002, which electronically notifies all parties
   9                     in this case.

  10           I declare under penalty of perjury under the laws of the United States of America that
       the foregoing is true and correct. Executed on July 7, 2021, at Los Angeles, California.
  11
                                                           /s/ Bambi Clark
  12
                                                      Bambi Clark
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       2913510.1                                       1
                                   NOTICE OF FILING CHAPTER 15 PETITION
